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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Fernando Gastelum,                               No. CV-17-04089-PHX-DJH
10                  Plaintiff,                        ORDER
11   v.
12   Chandler & Kyrene Hotel Group LLC,
13                  Defendant.
14
15            On July 17, 2018, Plaintiff filed a Notice of Suspension and Request for Stay
16   Pending Retainer of New Counsel (Doc. 27), wherein he informs the Court that his
17   counsel’s law license has been suspended on an interim basis and thus counsel can no
18   longer appear on his behalf. (Id.) Plaintiff therefore requests that the Court “stay this
19   proceeding for a period of sufficient duration for plaintiff to find and engage new
20   counsel.” (Id.) No response has been filed. This case, however, was terminated on
21   February 20, 2018 and therefore a stay is not warranted.1 (See Doc. 18). Accordingly,
22            IT IS ORDERED that Plaintiff’s Request (Doc. 27) is denied as moot. This case
23   …
24   …
25   ….
26   1
       On June 15, 2018, the Court stayed this action pending Plaintiff’s appeal in Gastelum v.
     Canyon Hospitality LLC, CV-17-02792-PHX-GMS. (Doc. 26). On September 10, 2018,
27   Plaintiff-Appellant filed a voluntary dismissal of his appeal, and the Ninth Circuit granted
     the same on September 17, 2018. (See Gastelum v. Canyon Hospitality LLC, CV-17-
28   02792-PHX-GMS at Doc. 58). Accordingly, this Court’s June 15, 2018 Stay is no longer
     in effect.
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 1   shall remain closed.
 2         Dated this 6th day of November, 2018.
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 5                                             Honorable Diane J. Humetewa
 6                                             United States District Judge

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